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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                        Chapter 11
                                     1
Lordstown Motors Corp, et al.,
                                                        Case No. 23-10831 (MFW)
                          Debtors.
                                                        (Jointly Administered)


                NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
                           ON MARCH 5, 2024 AT 3:00 P.M. (ET)


                         The hearing will be conducted entirely via Zoom.
         To attend the hearing remotely, please register using the eCourtAppearance tool
                 (available here) or on the court’s website at www.deb.uscourts.gov

     *The deadline to register for remote attendance is 4 PM (prevailing Eastern Time) the
                  business day before the hearing unless otherwise noticed.*

     After the deadline has passed an electronic invitation, with the relevant audio or video
                        link, will be emailed to you prior to the hearing.

I.              MATTERS SUBMITTED VIA COC:

           1.      Debtors’ First Omnibus Motion for Entry of an Order (I) Authorizing the
                   Assumption of Certain Executory Contracts, (II) Fixing the Cure Costs in
                   Connection Thereto and (III) Granting Related Relief [Docket No. 776 – filed
                   December 5, 2023]

                   Response/Objection Deadline:        December 12, 2023 at 4:00 p.m. (ET);
                   extended until December 14, 2023 at 4:00 p.m. (ET) for TERIS-Phoenix LLC

                   Responses/Objections Received:

                   i.     Informal comments from TERIS-Phoenix LLC

                   Related Documents:

                   i.     Notice of Filing of Revised Proposed Order Regarding Debtors’ First
                          Omnibus Motion for Entry of an Order (I) Authorizing the Assumption of
                          Certain Executory Contracts, (II) Fixing the Cure Costs in Connection

           1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                     Thereto and (III) Granting Related Relief [Docket No. 808 – filed
                     December 11, 2023]

              Status: This matter has been resolved and a revised order will be submitted via
                      certification of counsel.

II.         MATTER GOING FORWARD:


       2.     Debtors’ Second Motion to Extend the Debtors’ Exclusive Periods to File and
              Solicit Votes on a Chapter 11 Plan [Docket No. 935– filed January 29, 2024]

              Response/Objection Deadline:         February 12, 2024 at 4:00 p.m. (ET)

              Responses/Objections Received

              A.     Objection of Rahul Singh to Debtors’ Second Motion to Extend the
                     Debtors’ Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan
                     [Docket No. 964 – filed February 12, 2024]

              Related Documents:

              i.     Certification of Counsel Regarding Order Granting Continuance of
                     Debtors’ Second Motion to Extend the Debtors’ Exclusive Periods to File
                     and Solicit Votes on a Chapter 11 Plan [Docket No. 968 – filed February
                     13, 2024]

              ii.    Order Granting Continuance of Debtors’ Second Motion to Extend the
                     Debtors’ Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan
                     [Docket No. 969 – entered February 13, 2024]

              iii.   Reply in Support of the Debtors’ Second Motion to Extend the Debtors’
                     Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan [Docket
                     No. 1029 – filed February 29, 2024]

              Status: The hearing on this matter is going forward.

III.        CONFIRMATION:

       3.     Third Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
              and Its Affiliated Debtors [Docket No. 1014 – filed February 27, 2024]

              Response/Objection Deadline: December 8, 2023 at 4:00 p.m. (ET); extended by
              agreement for Former Directors and Officers until Monday, December 11, 2023 at
              12:00 p.m. (ET); extended by agreement for the Office of the United States
              Trustee for the District of Delaware until December 29, 2023 at 4:00 p.m. (ET);
              extended by agreement for the ERND until December 12, 2023 at 12:00 p.m.
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 (ET); extended by agreement for NHTSA until January 3, 2024 at 4:00 p.m. (ET);
 extended by agreement for Certain DiamondPeak Directors until February 23,
 2024 at 4:00 p.m. (ET); and extended by agreement for the Official Committee of
 Unsecured Creditors, Equity Committee, Security & Exchange Commission, the
 Ohio Securities Action Lead Plaintiff and Foxconn until February 28, 2024 at
 4:00 p.m. (ET).

 Responses/Objections Received:

 A.     Objection of Rahul Singh to Debtors’ Plan (Docket #766) [Docket No.
        793 – filed December 7, 2023]

 B.     Objection of the United States Trustee to Confirmation of the Debtors’
        Plan [Docket No. 878 – filed December 29, 2023]

 Related Documents:

 i.     Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated
        Debtors [Docket No. 360 – filed September 1, 2023]

 ii.    Order (I) Approving the Disclosure Statement and the Form and Manner
        of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III)
        Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of
        Confirmation Notices, (V) Establishing Certain Deadlines in Connection
        with the Approval of the Disclosure Statement and Confirmation of the
        Plan, and (VI) Granting Related Relief [Docket No. 651 – filed November
        1, 2023]

 iii.   Modified First Amended Joint Chapter 11 Plan of Lordstown Motors
        Corp. and Its Affiliated Debtors [Docket No. 657 – filed November 1,
        2023]

 iv.    Notice of (I) Approval of Disclosure Statement, (II) Establishment of
        Voting Record Date, (III) Hearing on Confirmation of the Plan, (IV)
        Procedures for Objecting to the Confirmation of the Plan, and (V)
        Procedures and Deadline for Voting on the Plan [Docket No. 661 – filed
        November 1, 2023]

 v.     Notice of Filing of Plan Supplement for the Modified First Amended Joint
        Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors
        [Docket No. 766 – filed December 1, 2023]

 vi.    Notice of Filing of Proposed Order (I) Confirming Modified First
        Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
        Affiliated Debtors and (II) Granting Related Relief [Docket No. 767 –
        December 1, 2023]

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 vii.    Notice of Rescheduled Confirmation Hearing Date and Time [Docket No.
         831 – filed December 15, 2023]

 viii.   Notice of Rescheduled Confirmation Hearing Date and Time [Docket No.
         924 – filed January 19, 2024]

 ix.     Second Modified First Amended Joint Chapter 11 Plan of Lordstown
         Motors Corp. and Its Affiliated Debtors [Docket No. 941 – filed January
         31, 2024]

 x.      Notice of Filing of Blackline of Second Modified First Amended Joint
         Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors
         [Docket No. 942 – filed January 31, 2024]

 xi.     Notice of Rescheduled Confirmation Hearing Date and Time [Docket No.
         960 – filed February 9, 2024]

 xii.    Notice of Filing of Blackline of Third Modified First Amended Joint
         Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors
         [Docket No. 1015 – filed February 28, 2024]

 xiii.   Notice of Filing of First Supplemental Plan Supplement for the Third
         Modified First Amended Joint Chapter 11 Plan of Lordstown Motors
         Corp. and Its Affiliated Debtors [Docket No. 1016 – filed February 28,
         2024]

 xiv.    Declaration of Andres Estrada Regarding the Solicitation and Tabulation
         of Votes on the Debtors’ Joint Chapter 11 Plan [Docket No. 1017 – filed
         February 28, 2024]


 xv.     Notice of Filing of Revised Proposed Order (I) Confirming Modified First
         Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
         Affiliated Debtors and (II) Granting Related Relief [Docket No. 1018 –
         filed February 28, 2024]

 xvi.    Notice of Filing of Offer of Settlement and of Order Instituting Cease-and-
         Desist Proceedings Pursuant to Section 8A of the Securities Act of 1993
         and Section 21C of the Securities Exchange Act of 1934, Making
         Findings, and Imposing a Cease-and-Desist Order [Docket No. 1030 –
         filed February 29, 2024]

 xvii.   Notice by the U.S. Securities and Exchange Commission Regarding
         Debtor Lordstown Motors Corp.’s Disgorgement Obligations [Docket No.
         1031 – filed March 1, 2024]



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              Status: The hearing on this matter is going forward. The Debtors intend to offer
                      the testimony of Daniel A. Ninivaggi, Adam Kroll, Ryan Hamilton, and
                      William Gallagher via declaration. Each witness will be available via
                      zoom for cross examination as necessary.

Dated: March 1, 2024
Wilmington, Delaware

/s/ Morgan L. Patterson
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